
654 S.E.2d 480 (2007)
James MYLES, Employee
v.
LUCAS AND McCOWAN MASONRY, Employer.
The Travelers, Carrier.
No. 330P07.
Supreme Court of North Carolina.
November 8, 2007.
Alice Tejada, Raleigh, for Myles.
*481 Thomas Morrow, Raleigh, for Lucas &amp; McCowan Masonry.
Prior report: ___ N.C.App. ___, 645 S.E.2d 143.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 10th day of July 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 8th day of November 2007."
Upon consideration of the petition filed on the 10th day of July 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
Upon consideration of the petition filed by Plaintiff on the 10th day of July 2007 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
HUDSON, J., recused.
